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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

SAN JOSE DIVISION

ANZA TECHNOLOGY, INC.,
Plaintiff,
V.
XILINX, INC.,

Defendant.

Case No. 5:17-cv-06302-LHK

JOINT STIPULATION OF
DISMISSAL WITH PREJUDICE

 

 

 

 

JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
CASE NO. 5:17-CV-06302-LHK
la-1390074

 
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Plaintiff Anza Technology, Inc. and Defendant Xilinx, Inc., pursuant to Federal Rule of
Civil Procedure 41(a)(1)(A)(i1), hereby stipulate to the dismissal with prejudice of all claims

arising in the above-captioned action, with each party bearing its own costs and attorneys’ fees.

Dated: July 23, 2018

 

 

By: /s/ Colby B. Springer By: /s/_ Bita Rahebi
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ATTESTATION PURSUANT TO CIVIL L.R. 5-1()

In accordance with Civil Local Rule 5-1(i)(3), I attest that concurrence in the filing of this

document has been obtained from any other signatory to this document.

/s/ Colby B. Springer

 

JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
CASE NO. 5:17-CV-06302-LHK
la-1390074

 
